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                  Exhibit E
    Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 2 of 13



 tandard In urance ompany                                                                                                                   Emory Healthcare
Life Benefits Depan:mem                                                                                                                Life Insurance Benefits
PO Bo. 2800 PonJand O R 97208 800.628.8600 Tel                                                                                          Beneficiary Statement

Tax loformatioJJ
  nder Lhe Federal lncom Ta.x law, wear - required L<;> requesl lhal you (as the payee) provide Standard In urance Company
(as payor)with •our orrecl oc.ial ecurity umb r or Taxpayer Identification Number.              .
Plea e read and complete the following information in order to comply wilh Federal Income Tax law.
Certification - Under P nalties Of Perjury, I C~rtify That:
1. The number shown on I.bis f01m i my orrect Social Security/ Taxpayer Identification Number (or lam waitingftw a
    nmnber to be issued lo me), and
2. I am not subject to ha kup withholding because (a) I am exempt from backup withholding, or (b) I have n ot been
                                                                     1


    notified by tJ1e lntcmal Revenue ervice (TRS) Lhat I am subject to backup withholding as a result of a fajJure to report all
    inte1·c t. or dividend , or (c) t.h IRS ha notified me that I am no longer su~ject to backup withholding.
                                                                                                       '
Certification Instructions - You must cros out item (2) if you have been notified by the IRS that you are
curr nll subject to backup withholding b c~use of underreporting interest or dividends on your tax return.
Method Of Payment -
1. Payment b h k
Funds under 25,000, and for poli .i · issued in and for residents of alifom ia, Florida, Kentucky, Louisiana, Maryland and
Rhode Island, payment wiU be made in alump sum, by check Lo Ltte policyholder unle s requested othcnvise.
2. Payment by A                            •.                            ,, 1
Beneficiaries may receive their funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a conve~ent, interest-bearing checking a<;'count in which life insurance proceeds are deposited. With
SS you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of  .
                                  a lo ed one. •                     · '
The Beneficiary will be mailed a ch kbook, once the claim is, approved. In addition, all SSA accountholders have access to
24-hour customer e1vice via a voice response unit (VRU) and a dedicated customer service team.               ·
If you decide to assign a portion of your hen~fits to a funeral home, please include a notarized assignment fonn (S1.i.frplied by
tlu f,.tneral home) and an ile mized copy of the funeral bill. A separate heck for the amount of the assignment will be delivered
directly to the funeral home.                                                 .,

j Acknowledga~ent
 that  I:rid                                       3
 I hereby certify that the answers I have made to the foregoing questl~ns are both complete and true to the best of my knowledge and bellef. I acknowledge
                   the fraud n~tlce on page of this form.                                                                                      (\


  Signature of Beneficiary (pl8ase use dark Ink and sign as you would a ch9Clc) '             Name ol Deceased


  Name (please print)
                             1r.. nS\ O\~Of\- t'\\Jl)~~~°' ~                                  ---=  S=-o~w:.--,----------- -
                                                                                              Relatlonshlp to Deceased


 Social Security Number (mquirecl}                                                            Date ol Birth

                                                                                                                 ..J
  Melling Address (if this Is • PO BoK, a ·slr8el adaress Is rsqulf'f1d)                      City                                              State         Zip Code
                               '     '




  Street Address (only If your malling addf'flss Is a PO Box)                                 City '                                            State        ~ Zip Code




  Work Phone No.                                                                              Home Phone No.

Tb.is Portion F~r Use By Standard Insurance Company Only ·

  Claim No.(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            . Polley No.(s) _6_4_72_7_2_ _ _ _ _ _ _ _ _ _ _ _ __
  Deposit Amount S _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              Division 037                   . Sub 107

  Code       402 D       403 D        404 D       405 D        406 D       407 □                 OM        □ F
                                       '   '

  Transmittal Date                                                         Authorized Signature

                                                                                                 Pollcyholder          Name of Deceall8d: _ _ _ _ _ _ _ _ __
                                                                                                 Un Only               Group Polley No.: -=-
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SI 1794-6'7272-BEN                                                                      1 of 5                                                                            (4/17)
     Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 3 of 13


Standard Insurance Company                                                                                                           Emory Healthcare
Life Benefil.!l D epartment                                                                                                    life Insurance Benefits
PO Box 2800 Portland OR 97208 800:6~.8600 'lei                                                                                  Beneficiary Statement

Tax Information
 ·nder the Federal Income Tax law. we are required lo request that you (~ the payee) provide Standard Insurance Company
(as payo/)with your correct Social Security Number or Taxpayer ldentifical.ionNumbe 1~
Please read and comple te I.he follov.'ing infonnation in order lo comply ,vi r.h Federal Income 'fax l~w.
Certification - Under Penalties Of Perjury, I Certify Thall
1. The number shown on this form is my correct Social Security/ Taxpayer Identification Number (or I am waiting for a
    nmnher_to be issW1d to me), and
2.   I am not subject to backup withholding because (a) I am exempt from backup withholding, or (b) I have not been
     norifled by the Internal Revenue Service (IRS) that I am subject to backup withholding as a result ofa failure Lo report all
     interest. or dividends, or (c) t he IRS has notiffed me that I am no longer subj ect to back.up withholding.
Certification Inst.r uctions - You must cross out ilem ( 2 ) if you have been notified by th e IRS Lhat you are
currently ~ubject to backup with holding because of underreporting interest or dividends on your tax return.
Method Of Payment -
1. Payment by Check
         •
Funds under     ~25,000, and for policies issued in and for residenls of California, Florida, Kentucky, Louisiana, Maryland and
Rhod e Island, payment will be' madc in a lump su m, hy check to the policyholder unless requesled otherwise.
2. Payment by SSA
Beneficiaries may receive their funds of $25,000 and above via S:tandard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenient, interest-bearing checking account in which lift: insurance proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds ~bile taking the time to weigh important financial decisions
that often follow the death of a loved one.
The Beneficiary will be mail ed a checkbook, once the claim is approved. In addition; all SSA accountholders have access lo
24-hour customer service via a voice response unit (VRU) and a dcdicaLed customer service te am.
If }'OU decide to a.-;sign a portion of }'Our benefits to a funeral home, please include a notarized as.'iignment form (supt,lied by
llu! Ju11eml home) and an itemized copy of the foneral bill. A separate check for the amount of the assignment will be delivered
directly to the funeral home.
 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions are both complete and true to the best of my knowledge and belief. I acknowledge
 thatlhave rea the fraud notice on page 3 of thl& form.


 Signature          eliclary (p/nsfl use dark inlc and sign as you WOl.lld a ched()             Name of Oeceased

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 Name {plBB$8 prlnl)
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 Social Security Number (requil&d)                                                              Dsteof


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 Straal Address (only II your tnBIHng Bddtw;s Is B PO Bax)                                   Cily                                              ZlpCoda


 Work Phone No.                                                                                 Home Phone No.

This Portion For Use By Standard Insurance Company Only
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 Claim No.(s) _ _ _ _ _ _ __ _ _ _ _ _ __ _ __                                                  Policy No.(s) _64
                                                                                                               _ 7_272
                                                                                                                    _ __ _ _ __ _ _ _ _ _ _ __

 DBpOSlt Amount$ - -- - - -- - - - - -- - -- -                                                  DM sion 037                Sub 107

 Code        4020        403 0       404 0       405 0       406 0       407 0


 Thmsmlttal Data                                                         Autllorlzed Signature


                                                                                          I     Policyholder
                                                                                          . U1eOnly
                                                                                                                   NameotOec:easad:_ _ _ __ __ _ __
                                                                                                                   Group Policy No.: _64
                                                                                                                                       _777
                                                                                                                                         __2_ _ _ _ __ __

SI 1791-647272-BEN                                                                     1 of 5                                                             (411 7)
         Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 4 of 13


Standard Insurance Company                                                                                                                            Emory Healthcare
Lifr ~cnctiL1' Dcpartmem                                                                                                                         Life Insurance Benefits
1'0 Bnx ~~00 Ponland OR 97:!08 8flfUi2R./ll\Ofl Tel                                                                                               Beneficiary Statement
Tax Information
Under the Federal Income Tax law, we are required to rcquesL Lhal you (as !he payee) provide Standard Insurance Company
(as payor) ,wiLh your currecL Social Sccurit>1 Number or Taxpayer IdcntiAca1.io11 Number.
Please read and complete the following information in order to complrwith Fcclcral Income Tax law.
Certification - Under Penalties Of Perjury, I Certify That:
L The number shown on this form is my correct Social Security/ Taxpayer Idcntific,nion Number (or I am waiting for a
    numbt7 lo be issurd lo me;, and
2. I am not subject to backup withholding because (a) I am exempt from backup withholding, or ( b) I have not been
    nutific<l by the:: Internal Revenue Service (IRS) that lam subject to backup withholding as a result of a failure lO report all
   interest or di,idcnds, or (c) lhc IRS has not.ifled me that lam no longer subject to backup withholding.
Certification Instructions - You must cross ou t item ( 2) if )' OU have been notified by the IRS chat yo u are
currently s11~ject to backup wit.hholrling bt:caust: of underreporting in wrest or dividends on your tax return.
Method Of Payment -
l. Payment by Check
Fnn<ls under $25,000, an<l for policies issued in and for reside nu; of California, Florida, Kcmucky, Louisiana, Maryland and
Rhode Island. papnent will be made in a lump sum, by check to the policyholder unless requested otherwise.
2. Payment by SSA
Beneficiaries may receive their funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenient, interest-bearing checking account in which life insurance proceeds are deposited. With
SSA, ,,-ou are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is approvccl. In addit.ion, all SSA accountholdcrs have access to
~M-hour customer service ,ia a voice response unit (VRU) and a dedicated customer ser\'ice team.
If you decide to assign a ponion of your benefits to a ti.meral hom e, please include a notarized assignmenr. form (.wpplied by
the Jimrral homR) and an itemized c~1pr of the funeral bill. A separate c heck for the amount of the assignment will be dcl ive re<l
directly lo the funeral home.

 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions are both comp lete and true to the best of my knowledge and belief. I acknowledge
 that I have read the fraud notice o         of this form.



                                              inf< end sign es you would a check)                Name or Deceased

                                                                                                       ·50N
 Name (please print)                                                                            Relationship 10 Deceased



 Social Security Number (required)                                                              Oa1eoisJnh

                                                                                                                                                      FL-
 Mallin g Address (if tf'lis is a PO Box, a streel address is required)                         City                                                     State           Zip Coda


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                                                                                                                                                                                     "'l,,_
 S!reet Address (only if your mailing address is a PO Box)                                      City                                                     Stale           Zip Coae



 Work Phone No.                                                                                 Home Phone No.


This Portion For Use By Standard Insurance Company Only

 Claim No.(s)                                                                                   Policy No.(s)    647272
 Deposit Amounl $                                                                               Division 037                             Sub 107
                                                                                                                                                              .
 Code      4020         4030        4040         4050        4060         407 0                 OM         OF

 Transmittal Dale                                                         Au1hori2ed Signature


                                                                                                Policyholder                Name or Deceased:
                                                                                                Use Only                    Group Policy No.: 647272

SI 1794-647272-BEN                                                                     1 of 5                                                                                         (4/ 17)
      Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 5 of 13


Stand ard Insurance Company                                                                                                           Emory Healthcare
Life Benefits Department                                                                                                        I.ife Insurance Benefits
PO Box 2800 Portland OR 97208 800.628.8600 Tel                                                                                    Beneficiary Statement
Tax Information
Under the Federal Income Tax law, we are required Lo request. t.hat. you (as the payee) prm-ide Standard Insurance Company
(as p<ryor) with your correct Social Security Number or Taxpayer Idenlification Number.
Please read and complete Lhe follm~ing information in order lo compl}' with Federal In('omc Tax l~w.
Certification - Under PenaJties Of Perjuryt I Certify That:
I. Th e number shown on this form is my correct Social Security/ Taxpayer Identification Number (or I am waiting for rt
    number tn be issued tom~). and
2. l am not subject to backup withholding because (a) I am exempt from backup with holding, or (b) I have not been
    notified by the Internal Revenue Service (IRS) that I am subjecl to backup withholding as a result of a failure to report all
   interest or dividends, or (c) the IRS has notified me that I am no longer su bject to backup withholding.
Certification Instructions - You must cross out item (2) if you have been notified by the IRS that yo u arc
currently subject to backup with holding beca use of underreporting interest or dividends on your tax return.
Method Of Payment -
1, Payment by Check
Funds under $25,000, and for policies issued in and for residents of California, Florida. Kentucky, Louisiana, Maryla nd and
Rhode Island, payment will be made in a lump sum, by check to the policyholder unless requesled ot.herwisc.
2. Payment by SSA
Beneficiaries may receive their funds o f $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenient, interest-bearing checking account in which life insurance proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is approved . In addition, all SSA accountholders have access to
21-hour cusromcr service via a voice response unit (VRU) and a dedicated customer service team.
ff you decide to assign a portjon of your benefits to a funeral home, please include a notarized a.~sigum ent form (suptJlied by
lhe fv.11eral. home) a nd an itemized copy of the fu neral bill. A separate check for the amou n t. of the assignment will be de livered
directly to the foneral home.

 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions are both complete and true to the best of my knowledge and bells!. I acknowledge
 tha ,have read                ·     n a e 3 of this form.


                    clery~       e use darlc fnlc end sign as you would a chBCk)
                                                                                                           Pen nAabf\ - f) ISJOA/
                                                                                               ame of Deceased
    Asl a · ooBrncn                                                                            Qc,, l )fJ;h +er
     ~Se•rtty Number (r9qull9d)                                                              Date of Birth


 Malling Address (ff this Is a PO Bale, s s •address is requirsd)
                                                                                              C,\,e8Apffi I1e
                                                                                             City
                                                                                                                                         VA
                                                                                                                                         State   Zip Code


 Street Add1'9SS (only If your ma/Hng IJ/1drsss Is B PO BoK)                                 City                                    .   State   Zip Code


 Wor1< Phone No.                                                                             Homa Phone No.

This Portion For Use By Standard Insurance ~ ompany Only
                                                                                                                                                             .
 Clalm No.(s)                                                                                Polley No.(s) 647272
 Deposit Amount S                                                                            DMslon 037                    Sub 107

 Code      402 □       403 □       404 □       405 □       4060        407 □                 □ M        □ F

 ll'ansmmal Data                                                       Authorized Signature


          )                                                                                  Pollcyholdlll,'
                                                                                             ua,Onty
                                                                                                                 Name of Decaased:
                                                                                                                 Group Polley No.: 847272

$ 11794-e47272-IIEN                                                                 1 of 5                                                                  (411 7)
      Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 6 of 13


Stand ard Insurance Company                                                                                                               Emory Healthcare
Life lkncliL• Department                                                                                                             Life Insurance Benefits
PO Bo:( 2800 Portland OR 97208 800.628.8000 Td                                                                                        Beneficiary Statement
Tax. Information                                                                                                         .,
UndeT the Federal Income Tax l.iw, we a re required Lo request that you (as th~ payee) provide Stand a.r<l Insurance Compauy
(as paym') with your concct Social Security Number or Taxpayer ldentificatjon Number.
Please read and complete the following information in order Lo comply wi th Federal Income Tax l~w.
Certifkation - U nder Penalties Of PeTjury, I Certify That:
1. The number shown on this form is my con-cct Social Security/ Taxpayer Jdent.ification Number (or I am waiting.for a
   munber to be ifsu,ed to me), and
2. I am not subject to hacku p withholding because (a) 1 am exempt from backup withholding, or (b) I have not been
    notified by the Internal Revenue Service (IRS) that. I am subject Lo backup ·withholding as a result of a failure to report all
    intcresl or di,iciends, or (c) the IRS has notified me thaL I am no longer subject to backup withholding.
Certification Instructions - You must cross out. item (2) if you have been notified by thf IRS i.h a t you are
currently su~cct to backup with holding because of underreporting interest or dividends on yo\ff tax return.
Method 0! Payment -
1. Payment by Check
Funds u il der $25,000, and fm policies issued in and for residenl'l of C.alifornia, F101ida, Kentucky! Louisiana, Maryland an d
Rhode Island, payment will be made in a lump sum, by check to the,policylmldcr unless requested otherwise.
2, Payment by SSA
Beneficiaries may receive their funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenient, interest-bearing checking account in whichlife insurapce proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one,                                                          ~
The Beneficiary will be mailed a checkbook, once the claim is approved. In addition, aU SSA accountholdcrs have access to
24-hour customer service via a voice response unit (VRU) and a dedicated customeT sc1vice learn.-         •
If you decide to assign a portion of your benefits to a fim eral home, please include a notarized assig1~~pent fonn (supplied by
lhiftmeral home) and an itemized copy of the funeral b ill. A separate -check for U1e amoum of the assigmttrnt will be d elivererl
directly to the funeral home .
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 Aclcnowledgement
                                --------------------, •'
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     t 7C::-~:dffifunn.                                                                                        • • {) , · · .
 t hereby certify that the answers I have made to the foregoing questions are both complete and tnJe to lhe best of my ~ pwtedge and bellef. I acknowledge·



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      ----------"--. Al,c,a t'ennomoo . f}Jst>n
 Signature of Banallclary         ·ui,e dark Ink and s/fJII as )l'ClU wo(Jld a clleck)            Name of Oeceaeed


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 Social Security Nuinber (roqUfrrld)                                                              Data of Bl


                             PO                                                                  c~     ht:a pmte i \JB 1 3'JiJO                         Zip Coda



 Slrael Add1'899 (only " )'JUT msillnQ address Is a PO Bole}                                     City                                     ·   State      Zip Coda


 Work Phone No.                                                                                   Honie Phone No.

This Portion For Use By Standard Insurance Company Only
 Clalrii No.(s) _ _ __ _ _ _ _ _ _ _ __ _ _ _ _ __                                                Policy No.{s) _84
                                                                                                                 _ TD
                                                                                                                    _ 2_ _ __ _ __ _ _ _ _ _ __
 Deposit Amount$ _ _ _ _ __ _ _ _ _ __ _ _ __ _                                                   Division 037                  Sub 107

 Code      402   0     403 □       404 □        405 □         406 □        407 □


 Transmittal Dille                                                         Autl'IOrizad Signature


                                                                                             I    ~llcyhotcter.
                                                                                             _ U..Onty
                                                                                                                      Name or Deceased:_ _ _ _ __ _ _ __
                                                                                                                      ~ roup Polley NO.: _84_7_2_7_2_ _ __ _.......,___

SI ·17\M-e47272-BEN                                                                      1 of 5                                                                     (.-/1 7)
       Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 7 of 13


Standard Insurance Company                                                                                                                Emory Healthcare
Life Benefilll Depacuncnt                                                                                                            Life Insurance Benefits
PO Box 2800 Ponland O R 97208 800.628.8()00 Tel                                                                                       Beneficiary Statement
Tax Information
Under the Federal Incom e Tax law, we are required to request th al you (as fhe payee) prm,ide Standard Insu rance Company
(as pay011 with your correct Social Security N um ber or Taxpayer lde ntificatjon Number.
Please read and complete the following information in order to comply wi th Federal Income Tax la~.
Certification - Under Penalties Of Perjuryt I Certify That:
1. The number shown on this fonu is my correct. Social Security/ Taxpayer kicnlific:a1jon Number (or 1 am waiting for a
    n tunber to be is.med to me), and
2. I am not subject to backup withholding because (a) I am exempt from backup withholdin g, or (b) I ha\'e not been
    notified by the I nt.ernal Revenue Service (IRS) that [ am subject Lo backup withholding as a result o[ a failure to report all
    interest or <li1,idcnds, or (c) the IRS has notified me lhat I am no longer suhject. to backup withholding.
Certification Instructions - You must cross o n t item (2) i [ you h,we been noLified by the IRS that yo u are
currently subject to backup with holding because of underreporting inlercsl or dividends on your tax return.
Method Of_Payment -
I. Payment by Check
Fu nds un<ler $25,000, and for policies issued in and for residents of California, Florida, Kentucky, Louisiana, Mary1land and
Rhode Island, payment will be made in a lump sum, by check to the poliq•h oltler u n less requested othen'lise.
2. Payment by SSA
Beneficiaries may receive their funds of $%5,000 and above via S~dard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenient, interest-bearing checking account in which life insurance proceeds are deposited. With
SSA. you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
T h e Beneficiary will be mailed a checkbook, once the claim is approved. In addition. all SSA accounlholders have access to
24-hour customer service via a voice -response unit (VRU) and a dcdic:alcd customer service team.
If you decide to assign a portion of your benefits to a fun eral borne, p lease include a notarized assignment form (s·upplkd by
theJuneralhome) a nd an itemized copy of the funeral bill. A separate check for the amoun t of the assignment. will he deliverer!
d irectly to the fun eral h ome.

 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions are both complete and true to the best o! my knowledge and belief. I acknowledge
 that I have read the fraud notice on page 3 of this form.

     ~h
 Signature o1 Beneficiary {pJesse uss dsrk ink and sign as ,YOU woulds check)                 Name ol Deceued

     t).e.oo J~V4Vl0t2S S/!WTt+                                                                      ,c;,,
                                                                                                     0~              CA.f'.
                                                                                                                     X...lf,
 Name fplBSSB print)                                                                          Relationshlp tc Decee.M d


        Security Number (required)                                                            Dale of Birth

                                                                                                 El, ~ricJ oo~                                      3024w
 Malling Address (If this Is B PO Sor, B street address Is rr,qulred)                      City                                             State   Zip Code


 Streel Address (only ff your mslllng sddrsss is a PO Box)                                    City                                                  Zip Code


 Work Phone No.                                                                               Home Phone No.

This Portion For V se By Standard Insurance Company Only

 Claim No.(s)                                                                                 Policy No.(s) 647272
 Deposit Amount S                                                                             Division 037                      Sub 107

 Code      402 0       403 0        4040        405 0       406 D       407 D                 OM         OF

 Transmittal Datu                                                       Authorized Signature

                                                                                              Policyholder            Name of Deceased:
                                                                                              U••Only                 Group Policy No.: 647272

SI 179444727_2-BEN                                                                   t of 5                                                                    (4117)
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Standard Insurance Company                                                                                                            Emory Healthcare
Life Benefits Department                                                                                                         Life Insurance Benefits
PO Box 2800 Portland OR 97208 800.628.8600 Tel                                                                                    Beneficiary Statement
Tax If'! formation
Unqer 1he Federal Jm:ome Tax law, we are required to request that you (as th,r. fmyee) provide Standard Insurance Company
(as P<1yor) with your correct Social Securi ty Number or Taxpayer [dc ntiflcation Number.
Please read and complete the following information in order to comply with Federal Income Tax law. .
Certification - Under Penalties Of Perjury, I Certify That:
I. The number shown on tJ1is form is my corrcCl Social Security/ Taxpayer Identification Number (ar I am waitingjfffa
    number to be issued to me), and
2. I am not subject to backup withholding because (a) l am exempt from backup withholding, or (b) I have not been
    notified by the l mernal Revenue Service (IRS) that I am subject to backup withholding as a result of a failure to report all
   interest or dividench, or (c) the IRS has notified me that I am no longer subject to backup withholdin g.
Certification Instructions - You mus1 cross out icem (2) if you have been notified by the IRS tha1 you are
currcmly subject co backup withholding because of underrepor1h1g interest or dividends on your tax return.
Method Of Payment -
1. Payment by Check
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Rhode Island, payment. will be made in a lump sum, by check to the policyholder u nless requested otherwise.
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Beneficiaries may receive theiT funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
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SSA, you are able to earn interest on the life insurance proceeds while taking the time lo weigh important financiaJ decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is approved. In addition, all SSA accountholde1-s have access to
24-hour customer service via a voice response unit (VRU) and a dedicated customer service team.
Jf you decide to assign a portion of your benefits to a funeral home, please include a notarized assignment fonn (suppl~d lrj
thlfuneral homej a11d a11 itemized copy of the fu11~r;1l bill, A separate check for th~ amounr of 1l1e assigrnnent will be delivered
directly to the funeral home.

 Acknowledgement
 I hereby certify that 1he answers I have made lo the foregoing questions are both complete and 1rue to 1he best ol my knowledge and belief. I acknowledge
 that I have reed 1he fraud notice n page 3 of this form.
                              4

                                                                                                 dJ Ila'a Pe/tlanm
                                                                                               Name of Deceased


                                                                                               Aela~cea'!l


 Social Securl1y Number (requ;red)


 Mailing Address (if this is a PO 8C)J(, a street address is required)                                                                  Suite      Z,p Code


 S!reet Address (only if your maJ1ing arJrJrsss is a PO Bax)                                City                                        State      Zip Code


 Work Phone No,                                                                                Home Phone No.

This Portion For Use By Standard Insurance Company Only
 Claim No.(s) _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ __                                              Policy No.(s) _6_4_7_2_72
                                                                                                                       _ _ __ _ _ _ _ _ __ _ _ _ __
 Deposit Amount$ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __                                               Division 037                Sub 107

 Code      402 □        403 □       404 0       405 □        406 0       407 0


 Transmittal Oete                                                        Authorized Signature

                                                                                               Policyholder       Name or Deceased: _ _ _ _ _ _ _ _ __
                                                                                               use Only           Group Policy No.: -"'
                                                                                                                                    6-' 4.;;..n;;;;.7
                                                                                                                                                  '-"2~-------

SI 1794-647272-BEN                                                                    1 of 5                                                                  (4/17)
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Standard Insurance Company                                                                                                                    Emory Healthcare
Life Bc:ndic.s Dcpartmcm                                                                                                                 Life Insurance Benefits
PO Box '.!!BOO Portland OR 97208 800.628.8600 Tel                                                                                         Beneficiary Statement
Tax Information
Under rhe Ferieral Income Tax law, we art required Lo reques.r rh,H you (as the pny,.e) provide St.and.'lrd lns.urance Company
(as payar) with )'Our corcect Social Security Number or Taxpayer Identification Number.
Please read and complete the follo\\ing information in order to comply with Federal Income Tax law.
Certification - Under Penalties Of Perjury, I Certify That:
l. The number shown on this form is my correct Social Secnrit)·/Taxpayer lclenlification Number (or I am waiti1Jlf far a
    number to be isrned lo me), and
2. I am not suhjec1 to backup w:irhholcling because (a) I am exempr from b,tckup wiihholding. or (b) I have nol been
    notified hy the Internal Revem1e Service (IRS) thal I am suhjecl to backup withholding as a r-esultof a failure to re 1mrt all
    interest or- dividends, or (r.) the JRS has notified me rJiat 1 am no longer suhjec.1 lO backup \<rithholding.
Certification Instructions - Yuu must cross· om item (2) if' you have been. 1101.ifietl by lhe I RS that you are
currcmtl}' subjec:l to backup wilhllQ(ding because of underreporting interest or dividends ou your tax rel.nm.
Method O f Paymeot-
1. ,Payment by Check
fonds under $25,000, and for policies issued in and for residents of California, Florida, Kentucky, Louisiana, \.farylancl and
Rhode Islam!, paym ent will be made in a lump sum, b>· check Lu Lhc: poliqholder u nk:;:; requested othcrnise.
2. Payment by SSA
Beneficiaries may receive their funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSAk a convenient, interest-bearing checking account in which life in.<ru.rance proceeds att deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important 6nancial decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is appro\•ed. Jn addition, all SSA accountholders have access lo
24-hour cuslomcr senice via a voice response unit (VRU) and a dedicated customer service team.
If you decide to as.sign a ponion oFyour benefits to a runeral home, please include a notarized assignment form (sup;,iied by
lh$funeml lwme) a 11d ,111 iremi,.t:d copy oft he f'u11e r11l uill. A separau: dwi:k fi11· 1111:: a111011nl uftlw :is~ig11111r.111 will lie delivered
directly to the funeral home.

 Acknowledgement
 I hereby cenily that lhe answers , have made to the foregoing questiOl'ls are both complete and true 10 the best of my knowledge and belief. I acknowledge
 that I have read          d notics on page 3 of this form.


 Sign
                                                                                                _ /JUda Penmrra2
                                                                                                Name ol Decease<t

                                                                                                     &a
                                                                                                Ral!tlonshlp to Docea&ec



 Social Securtly Numoer (required)


 Mailing Addresa (if thiB is R PO Box. a street Bc1dfBIIS i9 requiroo)                                                                          State      Zip Code


 Slree1 Addrelili (an/y I I ~ mailin9 add~ ~ 11 PO Ba,r}                                      Chy                                               S\iitu     Zip Code


 Work Phone No.                                                                                 Home Phone No.

This Portion For Use By Standard lnsunmce Company Only

 Claim No.(s) _ _ _ _ _ _ __ _ __ _ _ _ _ _ __ _                                                Policy No.(s) _64
                                                                                                               _ 7_2_7 2
                                                                                                                       _ _ _ _ _ _ _ __ _ _ __ _ __

 Deposit Amount$ _ _ __ _ _ __ _ __ _ _ ___ __                                                  Division 037                        Sub 107

 Code      402 0        403 □       404 0        405 □       406 □       407' □                 OM        □ F


 Transmittal Da1e                                                        11.uthoriz~ Signa.ture

                                                                                                Pollc:yflolder             Name ol DeceaSl.ld: _ _ _ _ _ _ _ _ __

                                                                                                U1110nlr                   Gro14> Poley No.; _
                                                                                                                                             6_47_ 2_7_2_ _ _ _ _ _ __

SI 1794-647272·BEN                                                                     1 of 5                                                                         (4/17]
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Standard Insurance Company                                                                                                          Emory Healthcare
Life Bcndil5 Dcpartme111                                                                                                       Life Insurance Benefits
PO Rm.: 2800 Por1land OR 97208 800.628.8600 Tel                                                                                 Beneficiary Statement
Tax Information
Under the Federal Income Tax law, we are required lo reqnesr. rhar. you (as tire payee) prnvicle Standard Insurance Company
(as P<1y<JT") ·with your r.orrecl Social Security Number or Taxpayer Identification Number.
Please read and complete the following information in onler to comply with Federal Iucome Tax law.
Certification - Under Penalties Of Perjury, I Certify That:
1. The number shown on th is form is my correct. Social Security / Taxpayer Identification Number (or I am waiting for n
    numher to be i.smed to me), and
2. I am not snbject Lo backup withholding hec.-1Usc (a) I am exempt. from backup withholding, or (b) I have not been
    11otified by the Imemal Revenue Service (IRS) that. I am subject to backup withholding as a result of a failure to report.all
    inten.·st or dividenrls, or (c) the IRS has notified me that I am no longer sul~ect Lo l,ackup withholding.
Certification Instructions - You must cross ouL item (2) if you have been nOLified by the IRS that you are
currently subjec:r to backup withholding because of underreporting interest or dividends on your tax remrn.
Method Of Payment -
1. ·Payment by Check
Funds Linder $25,000, and for policit·s issued in and for residents of California, Florida, Kentucky, Louisiana, :\taryland and
Rhode Island, payment will be made in a lump sum, by check to the policyholder unless requested otherwise.
2, Payment by SSA
Beneficiaries may receive their funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenient, interest-bearing checking account in which life insurance proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
The· Beneficiary wiU be mailed a checkbook, once the claim is appro,·ed. ln addition, all SSA accountholdcrs have access 1.0
24-hour customer service via a voice response unit (VRU) and a dedicated customer service team.
If you decide to a5Sign a portion of your benefirs to a funeral home, please include a notarized assignment form (supplied f,y
lhe funeral lwme) and an i1emized cop}· of the funeral bill. A separate check for r.he arno1111L of rhc assignmem will be delivered
directly to the funeral ho111e.

 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions are both complete and !rue to the best of my knowtooge end beliaf. I acknowledge
 lhat I have r d the fraud notice on.page 3 I this form.


 Sig                                                                                         Name 01 Deceased


 Name (please print)
                                                                                                    oon
 Social Securl1y Number (required)                                                           Date of Bltt,


 Mailing Address (it this is a PO Box, a street address is requir8d)
                                                                                             CirjNcdo~                                State
                                                                                                                                              3tJ1S3
                                                                                                                                              Zip Code


 Street Address (only II your mailing aCJdress is II PO 80)()                                Cirj                                     State   Zip Code


 Work Phone No.                                                                              Home PhOne No.

This Portion For Use By St.andard Insurance Company Only

 Claim No.(s) _ _ __ _ _ _ __ _ _ _ __ _ _ _ __                                              Policy No.(s) _64_7_27
                                                                                                                  _2_ _ _ __ _ _ _ _ _ _ __ __
 DePoSit Amount$ _ _ _ _ __ __ _ _ _ _ _ _ __ _                                              Division 037                 Sub 107

 Code      402 D       403 D        404 D       405 D       406 D      407 D


 rransmittal Date                                                      Author,zed Signature

                                                                                             Pollcyhoklor       Name of Deceased: _ _ _ _ _ __ _ __
                                                                                             Use Only           Group Policy No.: 647272

SI 1794-647272-BEN                                                                  1 of 5                                                               (4/17)
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Standard Insurance Company                                                                                                                Emory Healthcare
Life Benefits Department                                                                                                             Llfe Insurance Benefits
PO Box 2800 Ponland OR 9720B 800.628.8600 Tel                                                                                         Beneficiary Statement

Tax Information
Under the Federal Income Tax law, we are re1p1ired lo request. that yon (as lhe payee) prnvide Standard Insnranc:e Company
(as payorj with your correct Social Security Number or Taxpayer Identification Number.
Please rt:ad and complete the following information in order to comply with :Federal Income Tax law.
Certification - Under Penalties Of Perjury, I Certify That:
1. The number shown on this form is my correct Social Security/ Taxpayer Identification Number (m- I om wailing for a
    ·number to be ismed to 111P.), and
2.   1 am not subject 1.0 backup withholding because (a) I am exempt from backnp withholding, or (b) I have not been
     notified by the Internal Revenue Seni.ce (IRS) that I am subject to backup withholding as a result ofa failure to repon all
     interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup withholding.
Certification Instructions - You must. cross out item (2) if you have been notified by the IRS that you are
currenr.ly subject to backup v.ithholding because of underreporting inr.erest or dividends on yom taX return.
Method Of Payment -
1. Payment by Check
:Funds under $25,000, and for policies issued in and for residents of California, Florida, Kentucky. Louisiana, Maryland and
Rhode Island, payment will be made in a lump sum, by check to the policylroldn unless requested otherwise.
2, Payment by SSA
Beneficiaries may receive their funds of $25,000 and above via Standard Secure Access (SSA) in accordance with the terms of
the group policy. SSA is a convenientJ interest-bearing checking account in which life insurance proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is approved. In addition, all SSA accountholders have access to
24-hour customer service via a voice response unit (VRU) and a dedicated customer service team.
Jfyou decide to assign a portion of your be nefits to a funeral home, please include a notarized ;l.';signmt'nt fonn (supplu:d by
the Juneml lwme) and ari itemized cop)' of the funeral hill. 1\ separate check for the amount of· rhe assignment v.ill be delivered
directly to the funeral home.
 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions are both complete and true to the best of my knowledge and belief. I acknowledge
 that I have read       fraud notice on page 3    is fo



 Signatur 01     neficiary (please use dark In    nd sign as you would a cheek)
                                                                                                  Alia'a Penoown-- BLMOtJ
                                                                                              Name ol Deceased

                                     Bl                                                           lx,{)
        (phfflsaprint)                                                                     Relationship lo Deceased


 Social Security Number (required)                                                         Date of Birk.



 Mailing Address (W this is a PO BOlt. a srreet address is required)
                                                                                           City   /1Acdon~h                                 State   Zip Code


 Slfeel Address /only ii your mailing address is a PO Box)                                 City                                             State   Zip Code


 Work Phone No.                                                                            Home Phone No.


This Portion For Use By Standard Insurance Company Only

 Claim No.(s) _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __ _                                             Policy No.(s) _6_4_7_2_7_2 _ _ _ __ _ _ _ _ _ _ __ __

 Deposit Amount$ _ _ _ __ _ _ __ _ _ _ _ _ _ __                                               Division 037                      Sub 107

 Code      402 D         403 0     404 0         405 0     406 0       407 0               OM            OF

 Transmit1al Date                                                      Aulhorlzed St9na1~ re

                                                                                              Policyholder            Name of Deceased: _ _ __ _ _ _ _ __
                                                                                              Use Only                Group Policy No.: 647272


SI 1794-647m•BEN                                                                     1 of 5                                                                    (4117)
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Standard Insurance Company                                                                                                          Emory Healthcare
Lile. Benefits Devanment                                                                                                       Life Insurance Benefits
PO Box 2800 Portland OR 9720B 800.628.8600 Tel                                                                                  Beneficiary Statement
Tax.Information
Under the Federal Income Tax law, we are required ro request. 1ha1. you (as the payee) providr. Standard Insurance Company
(as payor) with your correct Social Security Numbe r or Taxpayer Identification Number.
Please read and complete tJ1e following information in order to comply with Federal Income Tax law.
Certification - Under Penalties Of Perjury, I Certify That:
I. The number shown on this form is my correct Social Security/ Taxpayer ldenrifir.ation Number (ur I am waiti11g for a
    number to be i.uued to me), and
2. I am not subject to backup wirhholding because (a) I am exempt from backup withholding, or (b) I have not been
    notified by the Inte rnal Revenue Service (IRS) that I am subject to backup withholding as a result ofa failure to report all
   interest or dividends, or (c) the JRS has notified me 1hat I am no longer subject lo backup withholding.
Certification Instructions - You must cross oul ire m (2) if you have been 1101.i lied by the !RS that you are
currently subject ro backup withholding because of underreporting interest o r dividends o n your tax return.
Method Of Payment -
1. Payment by Check
funds under $25,000, and for policies issued in and for residents of California, Florida, Kentucky, Louisiana, Maryland and
Rhode Island, parment will be made in a lump sum, by check to the policyholde r unless requested otheiwise.
2. Payment by SSA
Beneficiaries may receive their funds of $25,000 and abo_v e ,ia Standard Secure Access (SSA) in accordance with the terms of
the group policy, SSA is a convenient, interest-bearing checking accowit in which life insurance proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is approved. In addition, all SSA accountholders have access to
24-hour cuscomer sen-ice \ia a voice response unir (VRU) and a dcdicared customer service team.
If you decide to assign a portion of your benefils 10 a funeral home, please include a notarized assignmem form (supplied tr;
tlu. funeral h,muj ~1110 an i1ernized copy of rJ1e funeral bill. A separate check fort.he amoulll r>f th e assignment will he delivered
directly to the funeral home.

 Acknowledgement
                                           ve made lo the foregoing questions are both complete and lrue to the best ot my knowledge and belief. I acknowledge
                                           page 3 of this form.


 Signature o    eneficlar~ (pfo se S8 dark inf< and sign as you wau/d a check/
                                                                                                      fJ flcla PeJJ{JQJmn
     M !J
 Name (please print)


 Social Security Number (required)


 Malling Address (ii this is B PO Box, a streer address is requirl!rl}                                                                State        Zip Code


 Street Address (only if ,.:,ur mailing address Is a PO Bolt)                                  City                                   State        Zip Code


 Work Phone No.                                                                                Home Phone No.

This Portion For Use By Standard Insurance Company Only

 Claim No.(s) _ _ __ _ _ __ _ _ _ _ _ _ _ __ __                                                Policy No.(s) _6_4_7_272
                                                                                                                     _ _ _ _ _ _ _ __ _ _ _ _ __
 Deposit Amount$ _ _ __ _ _ __ _ _ _ _ __ _ __                                                 Division 037               Sub 107

 Code      402 D        403 D       404 D       405 0        406 D       407 D                 D M        D F

 TransmHlal Dale                                                         Autho,i~ed Signature

                                                                                               Pollcyt,older    Name of Decease!l: _ _ _ _ _ _ _ _ __

                                                                                               Use Only         Group Policy No.: .;.
                                                                                                                                  64 --'--'-
                                                                                                                                         72 _7
                                                                                                                                             '--2_ _ _ __ _ __

SI 1794-847272•8EN                                                                    1 of 5                                                                  (4/17)
Case 1:23-mi-99999-UNA Document 2544-5 Filed 08/09/23 Page 13 of 13




Standard Insurance Company                                                                                                             Emory Healthcare
Life Benefits Departm~m                                                                                                           Life Insurance Benefits
PO Box 2800 Portland OR 97208 800.628.8600 Tel                                                                                      Beneficiary Statement

Tax Information
Under the Federal Income-: Tax law, we are requirr.d to request that you (as the payee) provide-: Sl.andard Insuranr.e Company
(as payor) with your correct Social Security N11111ber or Taxpayer Idcntificmion Number.
Please read and complete the following information in order to comply with Federal Income Tax law.
Certification - Under Penalties Of Perjury, I Certify That:
1. The number shown on this form is my correct Social Security/ Taxpayer Iden1ification Number (ar I am waitirig Jar a
    number fo be ismed tom~), and
2. I am not subject to backup withholding because (a) I am exempr from backup withholding, or (b) I have not been
    notified by the Internal Re~·erme Service (IRS) that Jam subject to backup withholding as a result of a failure to report all
    interest or dividends, or (c) the IRS has notitied m e that I am no longer s.ubject to backup withholding.
Certification Instructions - You must cross out item (~) if you have been notified uy the IRS that you are
currently subject to backup withholding because of underreponing intcrcSl or dividends on your tax return.
Method Of Payment -
I. Paymenl by Check
Funds ~nder $25,000, and for policies issued in and for residents of California, Florida, Kentucky, Louisiana, Maryland and
Rhode Jsland, payment will ht: made in a lump sum, by check to the policyholder unless requested otherwise.
2. Payment by SSA
Beneficiaries may receive their funds of$25,000 and above via Slandard Secure Access (SSA) in accordance with the terlDli of
the group policy. SSA is a convenient, interest-bearing checking account in which ]ife insurance proceeds are deposited. With
SSA, you are able to earn interest on the life insurance proceeds while taking the time to weigh important financial decisions
that often follow the death of a loved one.
The Beneficiary will be mailed a checkbook, once the claim is approved. In addition, all SSA accountholders have access to
24-hour rnstomcr service \ia a voice response unit (VRU) and a dedicateci customer service team.
If you decide to assign a portion of your benefits to a funeral home, please indnde a notarized assignment form (suppli,ed by
thefimeml home) and an itemizer! copy of tl1e fum:ral bill. A separate cht:ck for the amount of the assignment will be delivered
directly to the funeral home.

 Acknowledgement
 I hereby certify that the answers I have made to the foregoing questions ara both complete and I rue to the best of my knowledge and belief. I acknowledge
 that I have read the fraud notice on pa      I this form.


             of Beneficiary (ploa.se us da   inf< and sign as you would a checl<)
                                                                                                  /J llo'a Pemt1RD1M
                                                                                              Name of Deceased


     c   l
 Name~plaasa print)
                                  /Jl                                                             Oae;:,bh,r
                                                                                           Relationship t~ceased




 Mailing Address (if this is a PO Bo,:, a Slreet address is required)                                                                    State   Zip Code



 Streel Address (only ifyour mailing address is a PO Box)                                  City                                          State   Zip Code



 Work Phone No.                                                                            Home Phone No.

1bis Portion For Use By Standard Insurance Company Only

 Claim No.(s) _ __ _ _ _ _ _ _ _ _ _ _ __ _ __ _                                              Policy No.(s) _6_4_7_
                                                                                                                  27_2_ _ _ _ __ _ _ _ _ _ _ _ __
 Deposit Amount S _ _ _ _ _ __ _ _ _ _ __ _ _ __                                              Division 037                   Sub 107

 Code        402 D      403 D       404 D       405 □       406 D       407 0                 □ M        OF

 Trar>Smittal Date                                                      Authorized Signature

                                                                                              Policyholder         Name of Deceased: _ _ _ _ _ _ _ _ __
                                                                                              Use Only             Group Policy No.: 647272

SI 1794•847272•BEN                                                                   1 of 5                                                                 (4117)
